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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Ann Marroquin
                                  Plaintiff,
v.                                                      Case No.: 1:16−cv−08231
                                                        Honorable Gary Feinerman
Forster & Garbus, LLP
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 24, 2016:


       MINUTE entry before the Honorable Gary Feinerman:Plaintiff has filed a notice
of voluntary dismissal [6], the terms of which are set forth therein. Status hearing set for
11/10/2016 [5] is stricken. Civil case closed.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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